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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


ISABEL SANTAMARIA,

                       Plaintiff,

v.                                                            Case No: 6:18-cv-1618-Orl-41TBS

CARRINGTON MORTGAGE
SERVICES, LLC, BANK OF AMERICA,
N.A., AKERMAN LLP, LIEBLER,
GONZALEZ & PORTUONDO, P.A.,
MARINOSCI LAW GROUP, P.C., P.A.,
WILLIAM P. GRAY, PAUL W.
ETTORI, SCOTT R. STENGEL,
SAHILY SERRADET and MICHAEL P.
GELETY,

                       Defendants.
                                             /

                                             ORDER

       THIS CAUSE is before the Court on Plaintiff’s Renewed Application to Proceed in District

Court Without Prepaying Fees or Costs (Doc. 6), which has been construed as a renewed motion

to proceed in forma pauperis. United States Magistrate Judge Thomas B. Smith submitted a Report

and Recommendation (“R&R,” Doc. 9), in which he recommends the Motion be denied and the

Complaint be dismissed with leave to amend. (Id. at 18).

       Plaintiff filed a Response and Objection to the R&R (Doc. 12) several days after the

deadline. As such, the Court is under no obligation to consider Plaintiff’s Objections. Nonetheless,

because the Court is obligated to hold pro se parties to less stringent standards, they were reviewed

and considered. The Objections, for the most part, are merely a recitation of the same arguments

Plaintiff made in the Complaint––that every person and entity she came across in her underlying

litigation was mean to her, and as Judge Smith clearly sets forth, just being unkind without more



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is not a cognizable claim under the ADA. (Doc. 9 at 15; Shotz v. City of Plantation, 344 F.3d 1161,

1181 (11th Cir. 2003)).

       Judge Smith conducted a thorough analysis of Plaintiff’s Complaint and found that Plaintiff

failed to allege a cognizable cause of action. (Doc. 9 at 17). After a de novo review of the record

in this matter, the Court agrees entirely with the analysis in the R&R. Therefore, it is ORDERED

and ADJUDGED as follows:

           1. The Report and Recommendation (Doc. 9) is ADOPTED and CONFIRMED and

               made a part of this Order.

           2. Plaintiff’s Renewed Application to Proceed in District Court Without Prepaying

               Fees or Costs (Long Form) (Doc. 6), construed as a renewed motion to proceed in

               forma pauperis (Doc. 6) is DENIED.

           3. The Complaint (Doc. 1) is DISMISSED without prejudice. On or before

               February 27, 2019, Plaintiff may file an amended complaint and a renewed motion

               to proceed in forma pauperis. Failure to do so may result in a dismissal of this case

               with prejudice without further notice.

       DONE and ORDERED in Orlando, Florida on February 6, 2019.




Copies furnished to:

Counsel of Record
Unrepresented Party




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